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§§ l_ § D
HARR§SBURG, PA
b \ 35;>19 2013
IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANTK-__§LQ‘Q‘_____
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UNITED STATES OF AMERICA 3 'NO. 1118'CR' S\ §§
v. 1 <JUDGE <:\CM >
JORGE LUIS ROSA'HERNANDEZ, 1
Defendant. 3 Filed under seal

INDICTMENT.

THE GRAND JURY CHARGES!

COUNT 1
(Possession of a firearm by a previously convicted felon)

On or about April 29, 2018, in York County, Within the l\/[iddle
District of Pennsylvania, the defendant,
JORGE LUIS ROSA'HERNANDEZ, `
having been convicted of a crime punishable by imprisonment for a
term exceeding one year did knowingly possess in and affecting
interstate commerce, a firearm, that is, a Smith & Wesson, model M&P
Shield, .45 caliber pistol (serial number HZDSQ€Q).

All in Violation of Title 18, United States Code, Sections 922(g)(1)

and 924(a)(2).

     

 

 

 

 

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THE GRAND JURY FURTHER CHARGESI

FORFEITURE ALLEGATION

l. The allegations contained in Count l of this lndictment are
hereby realleged and incorporated by reference for the purpose of
alleging forfeitures pursuant to Title 18, United States Code, Section

924(d) and Title 28, United States Code, Section 2461(c).

 

2. Upon conviction of the offense in violation of Title 18, United
Stat,es Code, Section 922(§) set forth in Count 1 of this lndictment, the
defendant, JORGE LUIS RCSA'HERNANDEZ, shall forfeit to the
United States pursuant to Title lS, United States Code, Section 924(d)
and Title 28, United Stat-es Code, Section 2461(c), any firearms and
ammunition involved in the commission of the offense, including, but
not limited to! a Smith & Wesson, model l\/I&P Shield, .45 caliber pistol
(serial number HZDSQGQ).

3. lf any of the property described above, as a result of any act

or omission of the defendantf

a. , cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited With, a
third party§

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has been placed beyond the jurisdiction of the court1

 

 

 

 

 

 

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d. has been substantially diminished in value; or '

e. has been commingled With other property Which cannot
be divided Without difficulty,

the United States of America shall be entitled\to forfeiture of substitute
property pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 28, United States Code, Section 2461(c).

All pursuant to 18 U.S.C. § 924(01) and 28 U.S.C. § 2461(0).

A TRUE BILL

   

DAVID J. FREED

 

UNITED sTATE .AT oRNEY ' F¢;;§;rs@n, crany
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c`A§LoVD. MARcHIoLI DATE
AssisTANT U.s. ATToRNEY

 

